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                 8                              UNITED STATES BANKRUPTCY COURT

                 9                     EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

                10 In re                                                  Case No. 18:11651-A-11

                11                                                        Chapter 11
                     GREGORY JOHN TE VELDE,
                12                                                        D.C. No.:       WW-1
                13                    Debtor.                             RABOBANK, N.A.'s OBJECTION TO
                                                                          CONTINUED USE OF CASH
                14                                                        COLLATERAL
                15                                                        Date:    August 29, 2018
                                                                          Time:    1:30 p.m.
                16                                                        Place:   2500 Tulare Street
                                                                                   Fresno, CA 93721
                17                                                        Dept:    Courtroom 11, Dept. A
                                                                          Judge    Hon. Frederick E. Clement
                18

                19

                20          Secured Creditor Rabobank, N.A. ("Rabobank") objects to the Debtor's continued use of

                21 cash collateral and to his proposed budget for the period September 1, 2018 to October 31, 2018

                22 on each of the following grounds:

                23          1.        No Payments to Secured Creditors. The Debtor does not propose to make any

                24 payments to Rabobank or his other secured creditors. By the time of the continued hearing on

                25 August 29, this case will have been pending for four months and by the end of the budget period

                26 the Debtor's bankruptcy case will be six months old, yet the Debtor has not paid a penny of

                27 interest to his secured creditors. The continued accrual of interest on the Debtor's hundreds of

                28 millions of dollars of secured debt erodes Rabobank's collateral and unfairly shifts the risks onto

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             1 Rabobank and the other secured creditors.

             2          The Debtor's operations are barely break even on a cash flow basis, even though the

             3 Debtor will receive a huge subsidy from Rabobank and his other secured creditors in the form of a

             4 six month interest holiday. The Debtor's proposed budget, Exhibit A to the Second Amended

             5 Notice of Continued Hearing on Motion for Continued Use of Cash Collateral and to Borrow

             6 Money on a Secured Basis and Notice of Cash Collateral Budget for September 1 to October 31,

             7 2018 (dkt. no. 748), projects total cash receipts of $15,316,857 during the budget period and

             8 expenditures of $15,300,056, for net positive cash flow of just $16,804. Obviously, if the Debtor

             9 were paying the interest on his secured debt, his operations would be hugely negative on a cash

            10 basis.

            11          Furthermore, Rabobank's collateral position has been adversely affected by the Court's

            12 recent decision in te Velde v. Rabobank, N.A., et al., adv. no. 18-01030. In that case the Court held

            13 that certain agricultural service liens ("ASL's") did not attach to the proceeds of the Debtor's sales

            14 of milk to Columbia River Processing ("CRP") and therefore that milk proceeds of $1,221,793

            15 held by CRP were not subject to such ASL's. Judgment, dkt. no. 138. However, the ASL's, if

            16 valid, encumber the Debtor's livestock in Oregon, Or. Rev. Stat. § 87.226(1), and prime

            17 Rabobank's lien in the livestock. Id. § 87.146(e). Thus, the effect of the Court's decision is that the

            18 holders of ASL's will seek to enforce their liens against the Debtor's herd, further eroding

            19 Rabobank's collateral position.

            20          2.      Payments for Environmental Compliance. The Debtor proposes to pay a total of

            21 $450,985 during the budget period for environmental compliance. There is no evidence as to on

            22 what exactly the Debtor proposes to spend these funds. Rabobank assumes these amounts are to

            23 address the ongoing environmental issues at the Lost Valley Farm that resulted in the State of

            24 Oregon revoking the Debtor's CAFO permit. Indeed, Rabobank understands that following a

            25 hearing held on August 24, 2018, the Oregon state court found the Debtor to be in contempt under

            26 the stipulated judgment between the Debtor and the State of Oregon.

            27          Rabobank fully supports bringing Lost Valley Farm into compliance. However, there is no

            28 evidence that the environmental compliance work the Debtor proposes to perform has been

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             1 approved by the State of Oregon. Nor is there any evidence that payment of these amounts will

             2 resolve the environmental issues and bring the Debtor into compliance with his CAFO permit or

             3 what the total cost will be to bring the Debtor into compliance. Rabobank objects to any

             4 expenditure of its cash collateral to pay for work that has not been approved by the State of

             5 Oregon. The Debtor must come into compliance; spending money on work that has not been

             6 approved does not help and is wasteful.

             7          Furthermore, the Debtor should disclose the total expected cost to address all of the State

             8 of Oregon's concerns. The Debtor and his creditors need to know what the entire bill is anticipated

             9 to be.

            10          3.     Cow and Calf Sale Proceeds. The Debtor forecasts cash proceeds from the sale of

            11 heifers and bull calves of $142,000 and from the sale of cull cows at his two California dairies of

            12 $668,000, for total proceeds of $810,000. The Debtor proposes to spend these proceeds on his

            13 operating expenses. Rabobank has the senior lien in these animals and their proceeds. Their sale

            14 and the use of the proceeds depletes Rabobank's collateral. Accordingly, these proceeds of

            15 Rabobank's collateral should be paid to it.

            16          4.     Professional Fees. The Debtor proposes to pay over $700,000 in professional fees

            17 from Rabobank's cash collateral during the budget period. Rabobank objects to the use of its cash

            18 collateral to pay these expenses.

            19 DATED: August 27, 2018                        JEFFER MANGELS BUTLER & MITCHELL LLP
                                                             RICHARD A. ROGAN
            20                                               BENNETT G. YOUNG

            21
                                                             By:          /s/ BENNETT . YOUNG
            22                                                                  BENNETT G. YOUNG
                                                                   Attorneys for Secured Creditor Rabobank, N.A.
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